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UNITED STATES DISTRICT COU
WESTERN DISTRICT OF TENNESS STERN EMSTR|CT oF TN

Eastern Division FFLED iN OPEN COURT‘.'
DATE; O'§;/Qe/O j
TiME: aids £%7

-vs- 155-m §ESl::oscrioosa-oozr

FRANKlE MILLER

UNlTED STATES OF AMERICA

 

ORDER OF DETENTION PEND|NG TRlAL
F|ND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1‘), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
ofrelease and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

FRANK{E MILL.ER is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicab]e, from persons awaiting or serving sentences
or being held in custody pending appeal. FRANKIE MILLER shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge ofthe corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

f /"""'_'
Date: AugustS,Z()()§ é. /Am/‘?».r JJZ-_`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the dockets In co tiance
with Rule 55 and/or 32(b) FFlCrP on

 

UNIT§D STAT§S DISTRICT COURT- W§ST§ §l\l DISTRICT OF T§NN§SS§§

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:05-CR-10056 was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

J ames W. Powell

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Honorable J ames Todd
US DISTRICT COURT

